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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                    Southern District
                                                    __________        of Florida
                                                                District  of __________

                   LOGAN ALTERS, et al.                              )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:20-cv-21108-UU
                                                                     )
        PEOPLE'S REPUBLIC OF CHINA, et al.                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PEOPLE'S REPUBLIC OF CHINA
                                           Beijing, China




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew T. Moore, Esq.
                                           THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                           d/b/a THE BERMAN LAW GROUP
                                           Post Office Box 272789
                                           Boca Raton, FL 33427


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

              Mar 13, 2020                                                                            s/ P. Curtis
Date:
                                                                                          Signature of Clerk or Deputy Clerk
